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10
                                IN THE UNITED STATES DISTRICT COURT
11
                              FOR THE NORTHERN DISTRICT OF CALIFORNIA
12

13
     IN RE CATHODE RAY TUBE (CRT) ANTITRUST              MDL No 1917
     LITIGATION
14                                                       Case No 14-cv-2058-SC
     This Order Relates To:                              Master Case No 3:07-cv-05944SC
15
     All Actions                                         SPECIAL MASTER’S REPORT
16                                                       RE DISCOVERY MOTIONS
                                                         AND RELATED MATTERS
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28   SPECIAL MASTER’S REPORT RE DISCOVERY MOTIONS AND RELATED MATTERS           PAGE 1 OF 3
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1                   Since the court’s order on December 17, 2013 appointing the undersigned as
2    special master for discovery motions, the undersigned has submitted 25 recommended orders
3    and reports. These are listed in the attached Table #1. Nine motions remain pending at this
4    time. See Table #2. Of these, three motions were submitted by counsel for the indirect
5    purchaser class plaintiffs who have settled their claims with all defendants they named and
6    have withdrawn the motions. A question unresolved at this point is whether these motions and
7    one other should be deemed withdrawn or, instead, be allowed to be pursued by the remaining
8    parties. The undersigned plans to address this question in the near future.
9                   In addition, the undersigned has conducted numerous settlement mediations
10   with various parties and submitted at least two reports with regard to that process. ECF 3200
11   and 3818. Priority in these mediation efforts has been given to achievement of resolution of
12   the class actions. With the exception of direct purchaser plaintiff class claims against one
13   defendant, all class claims have been resolved among the parties and motions for approval of
14   these settlements submitted. The eagerness of the parties in the remaining cases to pursue
15   settlement discussions has, not surprisingly, abated in the absence of a firm trial date since the
16   court’s order on February 9, 2015. ECF 3515.
17                  Numerous non-discovery motions affecting the remaining actions have been
18   filed and will have to be addressed prior to trial. Furthermore, the court will have to consider
19   the appropriate time to remand cases that were transferred to the Northern District of
20   California pursuant to 28 USC §1407. In connection with the remand cases and the pending
21   non-discovery motions, the court may wish to request the parties to identify those motions that
22   involve issues in which the applicable law and appellate guidance in the transferor circuits
23   differs from that which obtains in the Ninth Circuit. With that information in hand, the court
24   may then wish to consider whether it might be appropriate to remand those cases, or some of
25   them, without ruling on those motions. For the cases that remain in the Northern District of
26   California, of course, those motions and all others will have to be addressed.
27

28   SPECIAL MASTER’S REPORT RE DISCOVERY MOTIONS AND RELATED MATTERS                 PAGE 2 OF 3
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TABLE # 1

In re CRT Antitrust Litigation, MDL No 1917: Special Master Discovery Motions 7/15/15 Status



 No   R&R        ECF    Motion                              Decision                  Court      Moving       Plaintiff      Defendant
      Order      No                                                                   Action     Party
      Filed
 1    7/14/15    3914   Compel Sears and Kmart’s private    Granted in part                      Toshiba      Sears          Toshiba
                        label discovery                                                                       Kmart
 2    7/9/15     3908   Compel Best Buy’s competitive       Granted in part                      Toshiba      Best Buy       Toshiba
                        intelligence, private label
                        discovery
 3    7/2/15     3899   Strike proposed expert report of    Denied                               Defendants   DAPs           All
                        Thomas Lys, PhD
 4    6/12/15    3873   Compel Mitsubishi’s supplemental    Granted in part (Murata              DPPs         DPPs           Mitsubishi
                        discovery (Murata, Konishi          deposition and hearing
                        depositions)                        re Konishi deposition)
 5    6/8/15     3866   Compel ViewSonic percipient         Requested briefing                   Mitsubishi   ViewSonic      Mitsubishi
                        witness depositions                 whether Chunghwa and
                                                            LG may proceed
 6    5/29/15    3859   Compel Mitsubishi to provide        Granted                              DPPs         Mitsubishi     Mitsubishi
                        Murata testimony
 7    5/28/15    3857   Request for status re motions to                              6/11/15
                        compel from IPPs, DAPs,                                       ECF 3870
                        Panasonic, Toshiba, Philips
 8    4/28/15    3830   Compel Mitsubishi’s supplemental    Granted in part;          6/11/15    DPPs         Mitsubishi     Mitsubishi
                        discovery                           supplemental briefing     ECF 3870
 9    1/16/15    3401   Compel ViewSonic responses to       Granted in part           6/11/15    Mitsubishi   ViewSonic      Mitsubishi
                        requests for production,                                      ECF 3870
                        interrogatories and Rule 30(b)(6)
                        deponent
 10   1/2/15     3366   Compel deposition of Sharp’s        Denied without            6/11/15    Panasonic    Sharp          Panasonic
                        Nobuo Harada                        prejudice                 ECF 3870




                                                                                                                           TABLE # 1, Page 1
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In re CRT Antitrust Litigation, MDL No 1917: Special Master Discovery Motions 7/15/15 Status


 No   R&R        ECF    Motion                             Decision                  Court      Moving      Plaintiff     Defendant
      Order      No                                                                  Action     Party
      Filed
 11   1/2/15     3365   Compel DAPs’ interrogatory         Granted in part                      Thomson     DAPs          Thomson
                        responses

 12   12/12/14   3197   Protective order barring DAPs      Denied                    6/11/15    Samsung     DAPs          Samsung
                        from taking second Samsung Rule                              ECF 3870
                        30(b)(6) deposition
 13   12/12/14   3196   Strike Sharp errata in Rule        Granted                   6/11/15    Panasonic   Sharp         Panasonic
                        30(b)(6) testimony of Sampietro                              ECF 3870
 14   11/24/14   3146   Compel Toshiba witnesses           Granted                              IPPs DAPs   IPPs DAPs     Toshiba
                                                                                                Cal AG      Cal AG
 15   11/19/14   3130   Compel Samsung SDI Ahn             Granted                   6/11/15    IPPs        IPPs          Samsung
                        deposition                                                   ECF 3870                             SDI
 16   11/14/14   3103   Compel production of Sharp’s LCD   Granted                   6/11/15    Panasonic   Sharp         Panasonic
                        Litigation documents                                         ECF 3870
 17   11/14/14   3104   Strike Samsung witness Sung’s      Granted                   6/11/15    IPPs        IPPs          Samsung
                        deposition errata                                            ECF 3870                             SDI
 18   11/12/14   3071   Extend discovery cut-off to        Granted                   6/11/15    DAPs        DAPs          Mitsubishi
                        depose Mitsubishi witnesses                                  ECF 3870
 19   9/15/14           Protective order against Rule      Interim order directing              Samsung     DAPs          Samsung
                        30(b)(6) deposition notice of      Samsung SDI to respond               SDI         DPPs          SDI
                        Samsung SDI                        by 9/19/14                                       Cal AG
 20   9/10/14    2828   Corrected R&R Order ECF 2743       English translations to   6/11/15    Sharp       Sharp         Toshiba
                        (Compel responses by Toshiba       be used                   ECF 3870                             Panasonic
                        and Panasonic)
 21   9/8/14     2812   Compel documents and testimony     Granted in part re Rule   10/23/14   DAPs        DAPs          Thomson
                        withheld on French statute         30(b)(6) testimony        ECF 2945




                                                                                                                        TABLE # 1, Page 2
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In re CRT Antitrust Litigation, MDL No 1917: Special Master Discovery Motions 7/15/15 Status


 No   R&R        ECF    Motion                          Decision                Court      Moving      Plaintiff     Defendant
      Order      No                                                             Action     Party
      Filed
 22   8/20/14    2747   Compel responses to             Denied                  8/20/14    LG & Defs   DAPs          All
                        interrogatories                                         ECF 2747
 23   8/15/14    2743   Compel Panasonic and Toshiba    Denied                  8/15/14    Sharp       Panasonic     Panasonic
                        interrogatory responses                                 ECF 2743               Toshiba       Toshiba
 24   8/15/14    2742   Compel Sharp documents re       Settled                 8/15/14    Panasonic   Sharp         Panasonic
                        purchase of CRT tubes in Asia                           ECF 2742


 25   7/30/14    2734   Compel documents for JDI        Denied                  8/6/14     IPPs        IPPs          Toshiba
                        depositions (former Toshiba)                            ECF 2734
 26   7/7/14     2677   Protective order                Granted in part         7/28/14    Best Buy    Best Buy      Panasonic
                 -5                                                             ECF 2714




                                                                                                                   TABLE # 1, Page 3
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TABLE # 2

In re CRT Antitrust Litigation, MDL No 1917: Special Master Discovery Motions 7/15/15 Status



 No   Date Filed   Motion                       Moving     Plaintiff   Defendant Status
                                                Party
 1    1/20/15      Compel Thomson Rule          DAPs       DAPs        Thomson    Pending
                   30(b)(6) deposition
 2    1/26/15      Compel DAPs to produce       Defs       DAPs        Defs       Pending
                   settlement agreements
 3    5/15/15      Enforce court’s scheduling   Samsung    Cal AG      Samsung    Pending
                   orders and strike 4/13/15    SDI                    SDI
                   late expert report
 4    10/29/14     Compel Toshiba to            DAPs       DAPs        Toshiba    Pending
                   authenticate documents
 5    11/24/14     Compel Samsung SDI and       DAPs       DAPS        Samsung     Pending
                   Hitachi to authenticate                             SDI Hitachi
                   documents                                           Panasonic

 6    9/12/14      Compel supplemental          IPPs       IPPs      Panasonic    Pending order whether other parties should be
                   discovery                                         Toshiba      permitted to proceed in light of Discovery Protocol.
                                                                     Philips      Withdrawn by moving party.
 7    9/19/14      Compel supplemental          IPPs       IPPs      Toshiba      “
                   discovery                                         Panasonic
 8    12/22/14     Compel Shibata deposition    IPPs       IPPs      Toshiba      “
 9    11/18/14     Compel ViewSonic             Mitsubishi ViewSonic Mitsubishi   “
                   percipient witness
                   depositions
